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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                              §
TEXAS MEDICAL ASSOCIATION, et                 §
al.,                                          §
                                              §
        Plaintiffs,                           §    Case No. 6:22-cv-372-JDK
                                              §
v.                                            §    Lead Consolidated Case
                                              §
UNITED STATES DEPARTMENT OF                   §
HEALTH AND HUMAN SERVICES,                    §
et al.,                                       §
                                              §
        Defendants.                           §
                                              §

     ORDER ON SUMMARY JUDGMENT BRIEFING AND SETTING HEARING
          Before the Court is the parties’ joint request for expedited briefing on summary

 judgment in this case. The Court hereby GRANTS the motion in part.

          It is therefore ORDERED that the briefing schedule for summary judgment

 in this case is as follows:

     Plaintiffs’ motions for summary judgment                     October 12, 2022
     Amicus curiae briefs supporting plaintiffs                   October 19, 2022
     Defendants’ opposition/cross-motion for summary              November 9, 2022
     judgment
     Amicus curiae briefs supporting defendants                  November 16, 2022
     Plaintiffs’ oppositions/replies in support of summary       November 23, 2022
     judgment
     Defendants’ reply in support of summary judgment             December 7, 2022

          Plaintiffs in each of the two consolidated cases may file (i) separate summary

 judgment motions of up to 30 pages each and (ii) separate opposition/reply briefs of

 up to 30 pages each. Defendants may file (i) a single consolidated opposition/cross-

 motion for summary judgment of up to 50 pages and (ii) a single consolidated reply


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brief of up to 30 pages. Amicus curiae need not file motions for leave before filing

briefs.

          Further, the Court hereby sets the parties’ summary judgment motions for an

in-person hearing on December 20, 2022, at 9:30 a.m., at the William M. Steger

Federal Building and United States Courthouse, 211 West Ferguson Street, Tyler,

TX 75702.

          Finally, Defendants’ obligation to answer the complaints in these actions is

waived.

          So ORDERED and SIGNED this 4th day of October, 2022.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE




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